    Case 2:24-cv-00347-EEF-EJD            Document 33-1        Filed 05/29/24     Page 1 of 4




                            UNITED STATES DISTRICT COURT

                      FOR THE EASTERN DISTRICT OF LOUSIANA

                                )
    FRISARD’S TRANSPORTATION,   )
    L.L.C., et al.,             )
                                )
                    Plaintiffs, )
                                ) Civil Action No. 2:24-cv-00347-EEF-EJD
    V.                          )
                                )
    UNITED STATES DEPARTMENT OF )
    LABOR, et al.,              )
                                )
                   Defendants.  )



                   MEMORANDUM IN SUPPORT OF
    MOTION OF PROPOSED AMICI PUBLIC JUSTICE CENTER, RESTAURANT
   OPPORTUNITY CENTERS UNITED, REAL WOMEN IN TRUCKING, SERVICE
  EMPLOYEES INTERNATIONAL UNION, AND ECONOMIC POLICY INSTITUTE
                 FOR LEAVE TO FILE AN AMICUS BRIEF

                Proposed amici Public Justice Center, Farmworker Justice, Restaurant Opportunity

Centers United, REAL Women in Trucking, Service Employees International Union, and

Economic Policy Institute submit the following Memorandum in Support of its Motion for Leave

to File an Amicus Brief. Proposed amici submit that their brief will be helpful to the Court’s

consideration of the reasonableness of the Department of Labor’s finalization of the Rule at issue

in this case.

                No federal or local rule governs “the procedural or substantive requirements for

district court amicus curiae briefs.” U.S. v. City of New Orleans, 2022 WL 4465534, at *1 (E.D.

La. Sep. 26, 2022). Another judge of this Court, reviewing “[d]ecisions on the issue by the U.S.

Court of Appeals for the Fifth Circuit and district courts within the circuit,” id., identified six

factors to guide a decision whether to grant leave to file an amicus brief: “(1) whether the parties




                                                 1
    Case 2:24-cv-00347-EEF-EJD             Document 33-1         Filed 05/29/24       Page 2 of 4




consented to the amicus curiae; (2) whether the proposed amicus curiae had a sufficient interest in

the outcome; (3) whether the amicus brief was useful or helpful to the court; (4) whether the parties

were well-represented; (5) whether the amicus brief argued facts; and (6) the neutrality of the

proposed amicus curiae.” Id. at n.10.

                These factors, taken together, favor allowing proposed amici to submit their brief:

                (1) Counsel for defendants has indicated that defendants do not oppose the filing of

this brief. Counsel for plaintiffs have indicated that they do not consent to the filing of this brief.

                (2) Amici have a powerful interest in the outcome of this litigation; as explained in

more detail in the proposed brief itself, proposed amici submitted comments in support of the

Notice of Proposed Rulemaking that was finalized as the Rule at issue in this case, and represent

millions of workers whose correct employment status classification depends on the Rule.

                (3) The proposed brief lays out extensive information and analysis of the experience

of the workers amici represent—this information and analysis were submitted in comments to the

Department of Labor and considered in its finalization of the Rule. Review of this content will be

helpful to the Court’s evaluation of the reasonableness of the Department’s analysis and

conclusions in finalizing the Rule.

                (4) Proposed amici concede that the parties are well-represented.

                (5) The proposed brief does not argue facts—it provides facts that were also

provided to the Department as part of the rulemaking, but those facts are, to amici’s knowledge,

not in dispute. They are submitted to assist in demonstrating the reasonableness of the

Department’s analysis of those facts.




                                                   2
   Case 2:24-cv-00347-EEF-EJD            Document 33-1        Filed 05/29/24      Page 3 of 4




               (6) Although amici propose to write in support of defendants, they represent the

interests of workers impacted by the Rule, which are distinct from the interests represented by the

government Defendants.

               For these reasons, proposed amici request that the Court exercise its “‘broad

discretion’ to admit an amicus curiae.” Id. (quoting Sierra Club v. Federal Emergency Management

Agency, et al., 2007 WL 3472851 at *1 (S.D.Tex. Nov. 14, 2007), and grant leave to file the

accompanying brief.

Dated: May 29, 2024                          Respectfully Submitted,

                                              /s/ Ellie T. Schilling
                                             Ellie T. Schilling, 33358
                                             SCHONEKAS, EVANS, MCGOEY
                                                & MCEACHIN, LLC
                                             909 Poydras St., Suite 1600
                                             New Orleans, LA 70112
                                             Telephone: 504-680-6050
                                             Facsimile: (504) 680-6051
                                             ellie@semmlaw.com

                                             And

                                             Mark Samburg
                                             D.C. Bar No.1018533*
                                             Robin T. Thurston
                                             D.C. Bar No. 151399*
                                             Democracy Forward Foundation
                                             P.O. Box 34553
                                             Washington, DC 20043
                                             202-448-9090
                                             msamburg@democracyforward.org
                                             rthurston@democracyforward.org

                                             *To be admitted pro hac vice

                                             Attorneys for Amici PUBLIC JUSTICE CENTER,
                                             FARMWORKER JUSTICE, RESTAURANT OPPORTUNITY
                                             CENTERS, UNITED, REAL WOMEN IN TRUCKING,
                                             SERVICE EMPLOYEES INTERNATIONAL UNION, AND
                                             ECONOMIC POLICY INSTITUTE


                                                3
   Case 2:24-cv-00347-EEF-EJD           Document 33-1        Filed 05/29/24     Page 4 of 4




                                CERTIFICATE OF SERVICE

              I hereby certify that on May 29, 2024, the foregoing was electronically filed with

the Clerk of the Court using the ECF system which sent notification of such filing to all counsel

of record.

                                            /s/ Ellie T. Schilling
                                            ELLIE T. SCHILLING




                                               4
